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                          ICE
                                                                              PAGE     ' 1
  R E P O R T         OF         I N V E S T I G A T I O N
                                                                              CASH NUMBER UL02PR07MI0018

    TITLE: TEODORO NGUEM& OBIANG; ET. AL- OFFICIALS EQUATORIAL GUINEA

    CASE STATUS:             INTERIM RPT

    REPORT DATE-                 DATE ASSIGNED                    PROGRAM CODE                    REPORT NO.
    - 0530.12 -                  —7—0*2111                            YAl... . - .7.              -  009
      RELATED     CASE    NUMBERS:          MI02PR07MX0018.


      COLLATERAL REQi

     TYPE OF REPORT-.
    MEMO. OF INTERVIEW
TOPIC: 5/22/12-INTBRVIEW OF

        SYNOPSIS:                                                                                                    .
On November 13, 2006, agents assigned, t o t h e U,S. I m m i g r a t i o n and Customs
Enforcement, Homeland S e c u r i t y I n v e s t i g a t i o n s Miami (HSI/Miami) F o r e i g n P u b l i c
C o r r u p t i o n U n i t i n i t i a t e d a c r i m i n a l i n q u i r y regarding" t h e f i n a n c i a l
a c t i v i t i e s o f Teodoro Nguema OBIANG (DOB: 06/26/196.9) a.k.a. "Teodorin". I t i s
a l l e g e d t l i a t OBIANG i s d i v e r t i n g funds - a l l o c a t e d t o tb_e government q£
E q u a t o r i a l Guinea f o r h i s own p e r s o n a l use. T h i s case w i l l i d e n t i f y and t r a c k
a s s e t s a n d a c c o u n t s - w i t h i n t h e U n i t e d States t h a t a r e a s s o c i a t e d w i t h OBIANG.
HSI/Los- Angeles Asset . I d e n t i f i c a t i o n and Removal Group (-AIRG) has been
r e q u e s t e d t o as.sist i n t h e ongoing i n v e s t i g a t i o n .


                                                                                              Beverly H i l l s ,
 CA, pn May 22, 2 012.



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 RACUL SACLA SACMI                      KWON

                                                                                      OI GRP SUPERVISOR


                                          ORIGIN OFFICE r. UL                   TELEPHONE: 562 624 4022
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                                                                                TYPIST: KWON
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                                                                                                          DOJ 0009072
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 CASE PROGRAM CODES:
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               C O N T I N U A T I O N                                REPORT NUMBER: 009

DETAILS OF INVESTIGATION
 On November 13, 2006, agents assigned t o the U.S. Immigration and Customs
 Enforcement, Homeland S e c u r i t y I n v e s t i g a t i o n s Miami (HSI/Miami) Foreign P u b l i c
 Corruption Unit (FPCU) i n i t i a t e d a c r i m i n a l i n q u i r y regarding the f i n a n c i a l
 a c t i v i t i e s of Teodoro Nguema OBIANG (DOB: 06/26/1969) a.k.a. "Teodorin". I t i s
-alleged -tfeat—OBIANG— is~diver.ting_Eunds—alloaatedLfcti. the government of
" Equa'torlalr Guinea "fx3r~his ~ own~ personal- use . -'This case w±ll~identify -and t r a c k —
 a s s e t s and accounts w i t h i n the United S t a t e s that a r e a s s o c i a t e d w i t h OBIANG.
 HSI/Los Angeles A s s e t I d e n t i f i c a t i o n and Removal Group (AIRG) has been
 requested t o a s s i s t i n t h e ongoing i n v e s t i g a t i o n .
United S t a t e s Department of J u s t i c e (DOJ), Asset F o r f e i t u r e Money Laundering
Section (AFMLS) requested a s s i s t a n c e from HSI/LA AIRG t o help conduct
i n t e r v i e w s of v a r i o u s s u b j e c t s r e s i d i n g i n the Los Angeles area. On May 22,
2012, a t approximately 1600 hours, HSI/LA AIRG S p e c i a l Agent (SA)^Aarrao^|on^

                                                                                           y
*f£^^^                                                     ^^^^

 (The f o l l o w i n g i s a summary of the recorded interview. R e f e r to the recorded
 interview f o r further d e t a i l s ) .

            worked f o r OBIANG for three or four years as <MRHP£flHHHNHNM£ a t
 OBIANG's Malibu home. OBIANG asked«M4Mtftti to open up a LLC i n <MMMtftP name.
 4|MMMA d e c l i n e d t o open up a LLC (named Mecafis LLC) i n h i s name because he
 f e l t uncomfortable using h i s personal information.             opened up bank
 accounts i n h i s name on. behalf of OBIANG. The accounts were used t o pay o f f
 home expenses. OBIANG s t a t e d that i f he opened up bank accounts himself, t h e
 banks would c l o s e i t .

4MMMNI t o l d Wanda K e l l y , OBIANG's personal a s s i s t a n t , t h a t he d i d not want to
                                                                           n   o   t
 have the bank accounts i n h i s name anymore, i*4MMNI                          ^ e e l comfortable
 u s i n g h i s s o c i a l s e c u r i t y number. 9ft went t o the banks w i t h Wanda t o s w i t c h
 the names on the accounts to Wanda K e l l y . One week l a t e r , I^MMQty: was f i r e d
- f e r o B ^ h i ^ - ^ e ^ - a ^ i e n - t B ^                                                         :
 Tony Romero and Dragon D e l e t i c were both d r i v e r s f p r OBIANG. Wanda K e l l y and
          had separate independent j o b d u t i e s . < N M f l p s t a t e d that OBIANG would
 always b r i n g l a r g e amounts of cash i n L u i s V u i t t o n bags.         never
 inspected OBIANG's luggages when OBIANG came to the Malibu property.
 The i n t e r v i e w concluded a t approximately 1640 hours.


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               C O N T I N U A T I O N                         REPORT NUMBER: 009




The i n v e s t i g a t i o n continues.




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